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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

LISA THOMAS,

       Plaintiff,

v.                                              CASE NO.: 8:14-cv-159-T-17TBM

NCO FINANCIAL SYSTEMS, INC.,

      Defendant.
_______________________________________/


              STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or

their respective counsel(s) that the above-captioned action is voluntarily dismissed, with

prejudice, as to NCO Financial Systems, Inc. Each party is to bear its own fees and costs.

Date: August 25, 2014



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